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 6   Attorney for Defendant
     ANTHONY JOAQUIN SANCHEZ
 7

 8                                  UNITED STATES DISTRICT COURT

 9                                 EASTERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,                       )   Case No.: 13-cr-0206 MCE
                                                     )
11                                                   )
                           Plaintiff,                    STIPULATION AND ORDER TO
                                                     )   CONTINUE STATUS CONFERENCE
12                                                   )
     vs.                                             )
13                                                   )
     ANTHONY JOAQUIN SANCHEZ,                        )
14                                                   )
                  Defendant
                                                     )
15                                                   )
                                                     )
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            The United States of America, through its counsels of record, Benjamin B. Wagner,
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     United States Attorney for the Eastern District of California, and Jason Hitt, Assistant United
19
     States Attorney, and defendant Anthony Joaquin Sanchez, through his attorney, Ronald Peters,
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21   Esq, hereby stipulate and agree that the status conference scheduled for December 3, 2015 at

22   9:00 am should be continued to December 17, 2015 at 9:00 a.m.
23
            Defendant’s counsel has a conflict involving a juvenile that has been directed filed in the
24
     adult court with multiple counts of robbery. That appearance is set for December 3, 2015 at
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26   9:00 am in Juvenile Court with other defendants.

27          Parties agree that time should be excluded pursuant to 18 U.S.C. § 3161(h)(8)(B)(iv), and
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                               STIPULATION AND ORDER TO CONTINUE STATUS CONFERENCE

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 1   Local Code T-4 - reasonable time to prepare and for continuity of counsel. The parties agree that
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     time be excluded under this provision December 3, 2015 to and including December 17, 2015.
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                                                         Respectfully Submitted,
                                                         BENJAMIN B. WAGNER
 6                                                       United States Attorney
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 8   DATE: December 1, 2015                              /s/ Jason Hitt       _______
                                                         JASON HITT
 9                                                       Assistant U.S. Attorney
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11   DATE: December 1, 2015                              /s/Ron Peters
                                                         RON PETERS
12                                                       Attorney for Defendant
                                                         Anthony Joaquin Sanchez
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                               STIPULATION AND ORDER TO CONTINUE STATUS CONFERENCE

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 1                                                 ORDER
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            The Court, having considered the stipulation of the parties, and good cause appearing
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     therefrom, adopts the stipulation of the parties in its entirety as its order. Based on the
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     stipulation of the parties, the Court finds that the failure to grant a continuance in this case would

 6   deny defense counsel reasonable time necessary for effective preparation, taking into account the
 7   exercise of due diligence, and defendant continuity of counsel. The Court specifically finds that
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     the ends of justice served by the granting of such continuance outweigh the interests of the public
 9
     and that the time from the date of the stipulation, December 3, 2015, to and including December
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11   17, 2015.

12          IT IS SO ORDERED.
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     Dated: December 2, 2015
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                                STIPULATION AND ORDER TO CONTINUE STATUS CONFERENCE

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